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                                  UNITED STATES DISTRICT COURT

                                 NORTHERN DISTRICT OF CALIFORNIA


    HARIRAM SHANKAR,                                 Case No. 21-cv-06028-VC
                    Plaintiff,
                                                     ORDER RE MOTIONS TO DISMISS
           v.
                                                     Re: Dkt. Nos. 134, 135, 136, 137, 141
    ZYMERGEN INC., et al.,
                    Defendants.



        The motions to dismiss are denied as to the section 11 claim and granted as to the section

15 claim. This ruling assumes the reader is familiar with the facts of the case and the arguments

made by the parties.

        1. Judicial Notice. The Zymergen Defendants and the True Ventures Funds Defendants

ask the Court to take judicial notice of Zymergen’s initial public offering prospectus and

Zymergen’s 2021 Form 8-K. Dkt. No. 134-4. The DCVC Defendants ask the Court to take
judicial notice of an Investors’ Rights Agreement, Zymergen’s Certificate of Incorporation,

Zymergen’s Bylaws, and a copy of Defendant Matt Ocko’s tweets from April 22, 2021. Dkt. No.

135-6. Those requests are granted. See Dreiling v. American Express Co., 458 F.3d 942, 946 n.2

(9th Cir. 2006).1

        2. Section 11 Claim. To state a claim under section 11 of the Securities Act, a plaintiff

must allege “(1) that the registration statement contained an omission or misrepresentation, and

(2) that the omission or misrepresentation was material, that is, it would have misled a

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 The Court does not treat any statements in these documents as true. Brown v. Google LLC, 525
F. Supp. 3d 1049, 1060 (N.D. Cal. 2021).
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reasonable investor about the nature of his or her investment. No scienter is required for liability

under § 11; defendants [are] liable for innocent or negligent material misstatements or

omissions.” In re Stac Electronics Securities Litigation, 89 F.3d 1399, 1403–04 (9th Cir. 1996)

(quoting Kaplan v. Rose, 49 F.3d 1363, 1371 (9th Cir. 1994)) (citations and quotations omitted).

       There are multiple ways to plead falsity, but one is most relevant here: the plaintiffs have

stated a claim based on Zymergen’s opinion statements under an omissions theory of liability.

See City of Dearborn Heights Act 345 Police & Fire Retirement System v. Align Technology,

Inc., 856 F.3d 605, 614–15 (9th Cir. 2017). “[A] reasonable investor may, depending on the

circumstances, understand an opinion statement to convey facts about how the speaker has

formed the opinion—or, otherwise put, about the speaker’s basis for holding that view.”

Omnicare, Inc. v. Laborers District Council Construction Industry Pension Fund, 575 U.S. 175,

188 (2015). A plaintiff may therefore plead that an opinion statement contains an actionable

omission by pointing to “particular (and material) facts going to the basis for the issuer’s

opinion—facts about the inquiry the issuer did or did not conduct or the knowledge it did or did

not have—whose omission makes the opinion statement at issue misleading.” Id. at 194.

       The plaintiffs have stated a claim based on Zymergen’s statements about the market size

for Hyaline and its expectations for when Hyaline would generate revenue. In particular, the

registration statement said:

       The market opportunity addressable by our biofacturing platform is enormous and
       diverse. Our bottom‐up, industry‐by‐industry, application‐by‐application, analysis
       suggests that our total market opportunity is at least $1.2 trillion across 20 separate
       industries for our potential products, all ripe for disruption, and that the market
       opportunity of the first three industries we will pursue, electronics, consumer care and
       agriculture, is approximately $150 billion. In particular, we estimate that the display
       market alone for Hyaline was over $1 billion in 2020… Complaint ¶ 104.


The registration statement echoed this optimistic view of the market by explaining, “We

generally target products with a market opportunity that if successful, at scale, could support
annual sales of greater than $150 million.” Id. ¶ 103. Finally, it stated, “In the case of Hyaline,



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we expect to begin generating revenue in the second half of 2021…” Id. ¶ 102. Based on the

totality of the allegations in the complaint, it is plausible that Zymergen “lacked the basis…that a

reasonable investor would expect” when it offered these opinions. Omnicare, 575 U.S. at 196.

         First, the estimates of Hyaline’s market size: Jay Flatley, Zymergen’s acting CEO,

admitted that Zymergen “overestimate[d] the near-term demand for Hyaline” because it did not

have sufficient insight into the market. Complaint ¶ 127. As he put it, Zymergen “didn’t do as

good a job as we should have in understanding…the ultimate end-use of the product,” and “did

not have significant insight into the customer qualification process and into [its] customers and

users, which resulted in forecasted overestimated near-term demand.” Complaint ¶¶ 115, 127.

This allegedly inflated forecast meant that Zymergen’s estimated timeline regarding its revenue

was misleading as well. After all, Zymergen acknowledged that it discontinued Hyaline in part

because “the ultimate market was not…large enough to justify continuation of the program.” Id.

¶ 183.

         Zymergen’s revenue timeline was plausibly misleading for another reason: as Flatley

explained, Zymergen did not have an “intimate relationship with the customer,” and it needed “to

do a much better job of understanding and anticipating the end-use of the product in the customer

hands.” Id. ¶ 133. It is plausible that, without this relationship, Zymergen could not have

reasonably estimated that it would generate revenue in the second half of 2021 because it would
not have known if there were any problems with the product.

         Additional facts in the complaint support the plaintiffs’ theory. First, there was a very

short time period between the registration statement and the adverse disclosures, suggesting that

these facts were knowable at the time the registration statement was issued. Second, Zymergen’s

former CEO, Josh Hoffman, stepped down as CEO and as a member of the Board, presumably

because of these failures. Id. ¶ 114. Indeed, a contemporary news article states that a former

Zymergen employee confronted Hoffman about the “exaggerated financial figures” and “overly

optimistic projections about the company’s capabilities,” and Hoffman responded, “never
underestimate the power of the greater fool.” Id. ¶ 32. Third, Zymergen itself acknowledged its


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“credibility” problem following these disclosures. Id. ¶ 115. Finally, Zymergen subsequently

conducted “deep dives into the company’s product pipeline and development processes,”

suggesting that it understood its previous processes were inadequate. Id. Taken together, these

allegations suggest that Zymergen did not have a reasonable basis for its statements—either

because it lacked sufficient knowledge or because it failed to conduct a reasonable inquiry—and

so the statements were misleading.

          3. Bespeaks Caution Doctrine. Zymergen argues that these statements are protected by

the bespeaks caution doctrine because the registration statement discussed the risks inherent in

these estimates. But dismissing a pleading under the bespeaks caution doctrine “requires a

stringent showing: There must be sufficient ‘cautionary language or risk disclosure [such] that

reasonable minds could not disagree that the challenged statements were not misleading.’” Livid

Holdings Ltd. v. Salomon Smith Barney, Inc., 416 F.3d 940, 947 (9th Cir. 2005) (quoting In re

Stac, 89 F.3d at 1409). Zymergen has not met that standard here: the risk factors identified are

too general to foreclose a finding that the challenged statements are misleading.

          4. Section 15 Claim. The section 15 claim is dismissed. Zymergen has not offered

sufficient allegations to suggest that the “Controlling Stockholders” acted in concert. See Fouad

v. Isilon Systems, Inc., No. C07-1764 MJP, 2008 WL 5412397, at *13 (W.D. Wash. Dec. 29,

2008).
          Dismissal is with leave to amend. Any amended complaint is due within 28 days of this

order. But if the plaintiffs wish to proceed on this complaint, they can always seek leave to

amend at a later stage if discovery reveals additional information relevant to the dismissed

claims.

          IT IS SO ORDERED.

Dated: November 29, 2022
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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